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 1                                                         HONORABLE RICHARD A. JONES
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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
10          ABDIQAFAR WAGAFE, et al., on
11          behalf of themselves and others
            similarly situated,                              CASE NO. C17-94 RAJ
12                                                           ORDER

13                                Plaintiffs,

14                v.
            DONALD TRUMP, President of the
15          United States, et al.,
16
                                  Defendants.
17
18
            This matter comes before the Court on Plaintiffs’ Motion for Sanctions. Dkt. #
19
     137. Defendants oppose the Motion. Dkt. # 146. For the following reasons, the
20
     Court GRANTS IN PART AND DENIES IN PART Plaintiffs’ Motion for
21
            I.
     Sanctions.    BACKGROUND
22
            The procedural and factual history of this case is exhaustive, and the Court will
23
     not endeavor to recount every fact in this saga. However, a discussion of the events
24
     serving as the basis for Plaintiffs’ present Motion for Sanctions is necessary to
25
     understand the full context of Plaintiffs’ request.
26
27


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 1           On June 21, 2017, the Court granted Plaintiffs’ motion to certify two classes: a
 2 Naturalization Class and an Adjustment Class. Dkt. # 69. Sometime in 2017, Plaintiffs
 3 propounded discovery on Defendants. As part of their Requests for Production, Plaintiffs
 4 sought information regarding why Named Plaintiffs’ applications were subjected to
 5 CARRP. Dkt. # 140 at 138-45. Defendants responded to these Requests by objecting
 6 “insofar as [they] assume[] that” the Named Plaintiffs’ applications were subjected to
 7 CARRP. Id. Defendants neither confirmed nor denied that Named Plaintiffs’
 8 applications were subjected to CARRP and stated that “USCIS intends to withhold such
 9 Documents, as disclosure of the fact that such documents exist would negate the
10 privilege, and any such documents are, themselves, likely to be privileged.” See, e.g., id.
11 at 138.
12           Plaintiffs were not satisfied with Defendants’ response and moved to compel,
13 among other items, the production of documents indicating whether the Named Plaintiffs
14 were subjected to CARRP, and if so, the reasons why. Dkt. # 91 at 8. Defendants did not
15 address this issue in their Response to Plaintiffs’ Motion to Compel, and Plaintiffs argued
16 in reply that this lack of opposition was a concession. Dkt. ## 94, 95. The Court found
17 merit in Plaintiffs’ Motion to Compel and granted it in part, requiring Defendants to
18 disclose information explaining why the Named Plaintiffs’ applications were subjected to
19 CARRP. Dkt. # 98. Defendants sought reconsideration of this Order with regard to the
20 section addressing the class list, but did not raise any issue with the Court’s order to
21 produce information regarding why the Named Plaintiffs’ applications were subjected to
22 CARRP. Dkt. # 99. The Court denied Defendants’ motion for reconsideration. Dkt. #
23 102.
24           In December 2017, Defendants represented that they would produce documents
25 “referring or relating to the reasons why each named Plaintiffs’ immigration benefit
26 application was subjected to the CARRP.” Dkt. # 140 at 246. No party addressed what
27 kinds of documents contained this information. At some point, Defendants apparently


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 1 indicated to Plaintiffs that the “why” information was contained in the Named Plaintiffs’
 2 A Files. Dkt. # 137 at 15 (“According to Defendants, the relevant information regarding
 3 why Named Plaintiffs were subjected to CARRP is in their Alien Files.”); see also Dkt. #
 4 146 at 9 (explaining that “the Court acknowledged that Defendants intended to claim
 5 privilege over documents in the A Files, including ‘why’ documents”). To be sure, the
 6 Court has no independent record that Defendants have confirmed that the “why”
 7 documents are synonymous with the A Files. See, e.g., Dkt. # 140 at 246 (delineating
 8 between “why” documents and A Files).
 9           In February 2018, Defendants agreed to produce non-privileged documents
10 contained in the A Files, stating that they would produce these documents by February
11 28, 2018. Dkt. # 114. Defendants subsequently produced redacted A Files, though
12 Plaintiffs allege that none of them contained information related to why the Named
13 Plaintiffs’ applications were subjected to CARRP. Dkt. # 132 at 6. At this point,
14 Defendants apparently did not produce documents—whether in the form of unredacted A
15 Files or otherwise—related to why Named Plaintiffs’ applications were subjected to
16 CARRP.
17         In the instant motion, Defendants assert that “[a]t the time of Plaintiffs’ September
18 2017 motion to compel, the issue in dispute was whether Defendants had to acknowledge
19 that named Plaintiffs were subjected to CARRP, not whether any particular piece of
20 information in their A files was privileged.” Dkt. # 169 at 2 n.1. It is true that the
21 Motion to Compel did not directly address whether certain documents within the A Files
22 were privileged, or even whether these A Files contained the “why” information that
23 Plaintiffs sought. However, the Motion to Compel directly sought both the “whether”
24 and the “why” information, and Defendants raised no objection; Defendants did not argue
25 that either the “whether” or “why” information was privileged, nor did Defendants argue
26 that merely addressing the “whether” issue was privileged. Defendants remained silent
27 on the matter even though they raised these threshold objections in response to the initial


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 1 Requests for Production. Dkt. # 140 at 138, 140, 142, 143, 144, 145. Therefore, the
 2 issue before the Court at the time of the Motion to Compel was whether Defendants
 3 needed to produce documents regarding why the Named Plaintiffs’ applications were
 4 subjected to CARRP, and the Court found affirmatively.
 5         On March 29, 2018, Plaintiffs filed the present Motion for Sanctions against
 6 Defendants based on their discovery conduct and refusal to abide by the Court’s orders.
 7 Plaintiffs argued, in part, that Defendants are violating the Court’s order compelling
 8 production of information about why Named Plaintiffs’ applications were subjected to
 9 CARRP. Plaintiffs’ argument is based on Defendants’ refusal to produce unredacted A
10 Files, and requested relief in the form of these unredacted A Files and attorneys’ fees
11 incurred in litigating these discovery abuses. Dkt. # 137 at 17-20. In response to the
12 Motion for Sanctions, Defendants requested leave to submit two documents ex parte and
13 in camera that would contain “sensitive nonpublic explanations of the harms and risks
14 that can be expected to result if information Defendants have withheld from production
15 were disclosed outside the U.S. government.” Dkt. # 147 at 2. Defendants’ motion
16 argued that the parties have not had the opportunity to brief the privilege issues
17 associated with unredacting the A Files. Id. As such, Defendants proposed submitting
18 documents ex parte and in camera to explain to the Court why Defendants were unable to
19 produce unredacted A Files. Id. On May 4, 2018, in light of the national security claims
20 and new privilege issues raised, this Court granted Defendants’ request to file two such
21 documents ex parte and in camera. Dkt. # 181. The Court then reviewed the documents
22 Defendants submitted.
23         On December 18, 2018, this Court held a telephonic conference with the parties to
24 discuss, among other issues, the status of Plaintiff’s Motion for Sanctions. Dkt. # 211.
25 In this conference, Plaintiffs explained that they no longer sought sanctions relief for
26 Defendants’ failure to produce the class list or identify custodians on the President-
27 Elect’s transition team. Plaintiffs stated, however, that they still sought sanctions for


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 1 Defendants’ refusal to comply with previous Court orders concerning the production
 2 schedule and compelling information for why the named Plaintiffs were subject to
 3 CARRP in the form of unredacted A Files. Defendants responded that the Court’s May
 4 4, 2018 Order essentially acted as a reconsideration of its directive ordering Defendants
 5 to produce the “why” information, and that this information would be addressed in the
 6 parties’ upcoming discovery briefing.
 7         This case was stayed due to a lapse of appropriations from January 14, 2019 to
 8 January 29, 2019. Now that the stay is lifted, the Court considers Plaintiff’s Motion for
 9 Sanctions. Dkt. # 137.
10         II.    LEGAL STANDARD
11         The Court has broad discretion to control discovery. Hallett v. Morgan, 296 F.3d
12 732, 751 (9th Cir. 2002); see also Avila v. Willits Envtl. Remediation Trust, 633 F.3d 828,
13 833 (9th Cir. 2011), In re Sealed Case, 856 F.2d 268, 271 (D.C. Cir. 1988). That
14 discretion is guided by several principles. Most importantly, the scope of discovery is
15 broad. “Parties may obtain discovery regarding any nonprivileged matter that is relevant
16 to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P.
17 26(b)(1).
18         Under the Federal Rules of Civil procedure, if requested discovery is withheld
19 inappropriately or not answered, the requesting party may move for an order compelling
20 such discovery. Fed. R. Civ. P. 37(a)(1). “The party who resists discovery has the
21 burden to show that discovery should not be allowed, and has the burden of clarifying,
22 explaining, and supporting its objections.” Cable & Computer Tech., Inc. v. Lockheed
23 Saunders, Inc., 175 F.R.D. 646, 650 (C.D. Cal. 1997). If a party fails to comply with a
24 discovery order, the Court may also sanction that party accordingly. Fed. R. Civ. P.
25 37(b)(2). The Court has broad discretion to decide whether to compel disclosure of
26 discovery and whether to award sanctions. Fed. R. Civ. P. 37(a)(5); Phillips ex rel.
27 Estates of Byrd v. General Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002). Sanctions


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 1 under Rule 37(b) are likewise left to the Court’s discretion. David v. Hooker, Ltd., 560
 2 F.2d 412, 418 (9th Cir. 1977). Rule 37 sanctions also apply to government actors and
 3 agencies. United States v. Nat’l Med. Enterprises, Inc., 792 F.2d 906, 911 (9th Cir.
 4 1986); Chilcutt v. United States, 4 F.3d 1313, 1326 (5th Cir. 1993); see also Hernandez v.
 5 Sessions, EDCV16620JGBKKX, 2018 WL 276687, at *3 (C.D. Cal. Jan. 3, 2018)
 6 (ordering governmental defendants to pay $22,820.00 as reasonable attorney’s fees and
 7 costs pursuant to Fed. R. Civ. P. 37(a)(5)(A)).
 8         Moreover, Courts are vested with inherent powers that are “governed not by rule
 9 or statute but by the control necessarily vested in courts to manage their own affairs so as
10 to achieve the orderly and expeditious disposition of cases.” Chambers v. NASCO, Inc.,
11 501 U.S. 32, 43 (1991) (quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630-631
12 (1962)). The Ninth Circuit “has recognized as part of a district court’s inherent powers
13 the broad discretion to make discovery and evidentiary rulings conducive to the conduct
14 of a fair and orderly trial.” Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982
15 F.2d 363, 368 (9th Cir. 1992). Additionally, a district court “has the inherent authority to
16 impose sanctions for bad faith, which includes a broad range of willful improper
17 conduct.” Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001).
18         Sanctions issued under a court’s inherent power “are available if the court
19 specifically finds bad faith or conduct tantamount to bad faith.” B.K.B. v. Maui Police
20 Dep’t, 276 F.3d 1091, 1107-08 (9th Cir. 2002) (quoting Fink, 239 F.3d at 994). The
21 court may therefore issue sanctions “for a variety of types of willful actions, including
22 recklessness when combined with an additional factor such as frivolousness, harassment,
23 or an improper purpose.” Id. (quoting Fink, 239 F.3d at 994). For example, a finding of
24 bad faith is warranted where an attorney “knowingly or recklessly raises a frivolous
25 argument, or argues a meritorious claim for the purpose of harassing an opponent.”
26 Primus Auto. Fin. Servs., Inc. v. Batarse, 115 F.3d 644, 649 (9th Cir. 1997). A party also
27 demonstrates bad faith by “delaying or disrupting the litigation or hampering


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 1 enforcement of a court order.” Id. (quoting Hutto v. Finney, 437 U.S. 678, 689 n.14
 2 (1978)).
 3         III.   DISCUSSION
 4         Defendants are correct in that the world now is very different than the one that
 5 existed when Plaintiff’s Motion for Sanctions was first filed. Both parties acknowledge
 6 that the communication between the parties had improved dramatically as compared to
 7 the early stages of this case. The Court appreciates the parties’ transition to a more civil
 8 mode of discourse. However, with Plaintiff’s Motion for Sanctions still outstanding, the
 9 Court must look back in time to determine if sanctions would be appropriate in light of
10 Defendants’ previous conduct.
11         Following the December 18, 2018 conference between the parties, the Court
12 understands that Plaintiffs’ Motion for Sanctions now only seeks relief on two of the
13 original grounds they identified: (1) production of unredacted A Files; and (2) attorneys’
14 fees incurred with Plaintiffs’ discovery efforts. Dkt. ## 137, 211. As for the other
15 grounds of relief identified in Plaintiffs’ Motion for Sanctions, Plaintiffs’ Motion is
16 DENIED. The Court will consider Plaintiffs’ remaining grounds in turn.
17         A. Production of Unredacted A-Files
18         As stated above, Plaintiffs’ Motion for Sanctions seeks disclosure of the Named
19 Plaintiffs’ unredacted A Files, which Plaintiffs argue were subject to disclosure via this
20 Court ‘s October 19, 2017 Order. Dkt. # 137 at 20. Defendants had produced the A Files
21 for the Named Plaintiffs, but in redacted form. In their Response to Plaintiff’s Motion for
22 Sanctions, Defendants filed another motion arguing that the parties had not previously
23 had the opportunity to brief the privilege issues associated with producing unredacted A
24 Files. After supplemental briefing from the parties, the Court permitted Defendants to
25 file two classified documents attesting to the national security risks of disclosure ex parte
26 and in camera, though it also expressed skepticism that Defendants could not have
27 brought these issues to light sooner. Dkt. # 181.


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 1         The Court has reviewed the documents Defendants’ furnished and finds that
 2 Defendants’ motion (Dkt. # 141) raised facially credible national security arguments.
 3 Although the Court believes Defendants could have, and should have, asserted its
 4 privilege claims much sooner, after reviewing the documents submitted to the Court, the
 5 Court does not believe that Defendants’ ultimate position in not producing the unredacted
 6 A Files was “substantially unjustified” to the point of deserving sanctions from this Court
 7 for noncompliance. While the Court does not rule on the ultimate viability of these
 8 privilege claims in this Order, it will not compel the production of the unredacted A Files
 9 as a sanction for noncompliance under Fed. R. Civ. P. 37(b)(2)(C).
10         Accordingly, on this point, the Court will DENY Plaintiffs’ Motion for Sanctions.
11 At this time, the Court will not direct Defendants to produce unredacted A Files.
12         B. Attorneys’ Fees
13         Plaintiffs’ other remaining request for sanctions relief centers on Defendants’
14 resistance to Plaintiffs’ discovery request and Plaintiffs’ need to file motions to compel
15 Defendants’ compliance. Dkt. # 137 at 17-19. Pursuant to Federal Rule of Civil
16 Procedure 37, if a court grants in part and denies in part a motion for an order compelling
17 disclosure or discovery, as was the case with Plaintiffs’ Motion to Compel (Dkt. # 91),
18 the court may “apportion reasonable expenses” after giving the parties “an opportunity to
19 be heard.” See Fed. R. Civ. P. 37(a)(5)(C). Moreover, as stated above, if a party fails to
20 comply with a discovery order, as Plaintiffs allege in the present Motion for Sanctions,
21 the Court may also sanction that party accordingly. Fed. R. Civ. P. 37(b)(2). The Court
22 also has inherent authority to impose sanctions for discovery conduct undertaken in bad
23 faith. Primus, 115 F.3d at 649.
24         As stated above, the ultimate justification for withholding unredacted A Files
25 based on did not rise to the level of being “substantially unjustified.” Defendants
26 eventually put forth credible arguments for why certain information in these A Files
27 should not be disclosed without additional protections for national security reasons.


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 1 Defendants’ delays in bringing these privilege assertions before the Court are of a more
 2 dubious nature. As indicated above and in a previous order (Dkt. # 181), the Court finds
 3 that these explanations and justifications should have been asserted much sooner in the
 4 case. It took multiple motions, including Plaintiff’s Motion to Compel (Dkt. # 91) and
 5 this Motion for Sanctions, to yield a response from Defendants that passed muster,
 6 despite the presence of orders from this Court directing disclosure of this information.
 7         For nearly a year, Defendants’ positions in refusing to allow any discovery, or
 8 greatly limited discovery, delayed this case schedule and increased the cost of this
 9 litigation significantly. Defendants resisted, without providing adequate support, most of
10 Plaintiffs’ attempts to obtain relevant documentation in any form. The Court issued
11 multiple orders against Defendants directing them to produce the discovery sought by
12 Plaintiffs, which Defendants met with pushback and delayed production schedules. It
13 was not until Defendants’ Response to this Motion for Sanctions that a credible basis for
14 their privilege assertions as to the unredacted A Files was first articulated.
15         The Court finds that Defendants’ conduct early in this case in resisting Plaintiff’s
16 discovery efforts was undertaken in bad faith. Defendants’ conduct delayed resolution in
17 this case and greatly hampered enforcement of this Court’s early discovery-related
18 orders. In the months that followed the briefing of this Motion for Sanctions,
19 Defendants’ behavior improved, and there are plenty of indications that the parties
20 eventually reached a higher level of courtesy and cooperation regarding outstanding
21 discovery issues. See, e.g., Dkt. # 205. The Court applauds this improvement in
22 decorum and civility. However, the Court expects this to be the starting point for
23 discovery negotiations, not the end result of nearly a year of discovery battles. Plaintiffs
24 expended a large amount of time and resources in litigating against Defendants’
25 discovery abuses early in this litigation, and there is no question Defendants’ behavior
26 greatly delayed resolution of this case.
27


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 1          Accordingly, the Court will GRANT IN PART Plaintiffs’ Motion for Sanctions
 2 on this point. In doing so, the Court will ORDER Defendants to pay Plaintiffs’
 3 reasonable attorney fees incurred in bringing the September 2017 Motion to Compel
 4 (Dkt. # 91) and this Motion for Sanctions (Dkt. # 137). The question then turns as to the
 5 proper amount of the fee award. District courts have broad discretion to determine the
 6 reasonableness of fees. Gates v. Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992). To
 7 make this determination, courts determine the “lodestar amount,” which is calculated by
 8 multiplying the number of hours reasonably expended by a reasonable hourly rate.
 9 Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008). The lodestar figure
10 is presumptively a reasonable fee award. Id. at 977. The moving party has the burden to
11 produce evidence that the rates and hours worked are reasonable. See Intel Corp. v.
12 Terabyte Int’l, 6 F.3d 614, 623 (9th Cir. 1983).
13          To assist the Court in calculating the lodestar, the fee applicant must submit
14 “satisfactory evidence . . . that the requested rates are in line with those prevailing in the
15 community for similar services by lawyers of reasonably comparable skill, experience,
16 and reputation.” Blum v. Stenson, 465 U.S. 886, 895–96 n.11 (1984). The relevant
17 community is that in which the district court sits. See Schwarz v. Sec’y of Health &
18 Human Serv., 73 F.3d 895, 906 (9th Cir. 1995). As for the fees incurred in in bringing
19 the September 2017 Motion to Compel (Dkt. # 91), Plaintiffs have submitted a number of
20 declarations attached to this Motion for Sanctions that detail the experience, hourly rate,
21 hours, and work performed by Plaintiffs’ attorneys. Dkt. ## 138-45. Defendants do not
22 address the reasonableness of Plaintiffs’ attorneys’ rates in their Response, with the
23 exception of a footnote where Defendants “request the opportunity to provide the Court
24 both a line-item analysis and an evaluation of the hourly rates claimed by Plaintiffs’
25 counsel.” Dkt. # 146 at p. 17, n.8. The Court rejects this request. Defendants had such
26 an opportunity to contest the rates and hours worked by Plaintiffs’ attorneys’ in their
27 Response, but chose instead to include only a footnote and a short argument that the


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 1 award should be limited to the hours spent after February 28, 2018. Id. at 17. This
 2 approach ignores the fact that the Court has the power to award attorneys’ fees under
 3 either Rule 37(a), Rule 37(b), or this Court’s inherent authority to award sanctions for
 4 bad faith discovery abuses, all of which permit the Court to award fees before February
 5 2018.
 6         The Court has reviewed the rates claimed for Plaintiffs’ attorneys and finds them
 7 reasonable. In reaching that determination, the Court relies on declarations that the rates
 8 identified are the normal hourly rates, the experience of Plaintiffs’ attorneys, the
 9 Declaration of Carol Sobel (Dkt. # 138) to the extent it addresses the rates of attorneys
10 outside of this District, Defendant’ lack of stated opposition to the reasonableness of the
11 rates, and on its familiarity with legal fees in the Western District of Washington at the
12 relevant time period.
13         As for the number of hours worked, in determining the reasonableness of hours
14 spent preparing a motion, the Court may exclude any hours that are excessive, redundant,
15 or otherwise unnecessary. Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983). The
16 Court believes that the award should be limited to the time incurred litigating the Motion
17 to Compel, not the resulting discovery communications or time spent litigating
18 Defendants’ Motion for Reconsideration. Fed. R. Civ. P. 37(a)(5). Fortunately, the
19 declarations of Matt Adams, Sameer Ahmed, Nicholas P. Gellert, Hugh Handeyside,
20 Trina Realmuto, and Stacy Tolchin submitted by Plaintiffs delineate the hours and fees
21 incurred in bringing that Motion to Compel.
22         Here, the Court finds the amount of time Plaintiffs’ counsel spent litigating the
23 Motion to Compel, i.e. 125.76 hours, to be reasonable in light of the complicated and
24 difficult nature of the case, the number of attorney timekeepers, the lack of opposition
25 from Defendants, and Defendants’ resistance and delayed responses to Plaintiff’s
26 discovery efforts. The Court also believes that because Plaintiffs were not fully
27 successful on their Motion to Compel (Dkt. ## 91, 98), a 75% reduction of the total fees


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 1 claimed is warranted. This apportionment is approximately in line with the percentage of
 2 arguments Plaintiffs prevailed on in their Motion to Compel. Dkt. # 98. The Court
 3 calculates the total amount of attorneys’ fees to be awarded in connection with the
 4 Motion to Compel as $50,507.92. This amount represents 75% of the sum of the hours
 5 and fees claimed in the declarations as follows:
 6
      Timekeeper                     Hourly Rate        Hours Worked       Total
 7
      Hugh Handeyside                $646.64            1.6                $1,034.62
 8
      Matt Adams                     $779.74            6.3                $4,912.36
 9
      Harry H. Schneider, Jr.        $895               5.1                $4,564.50
10
      Nicholas P. Gellert            $600               5.7                $3,420.00
11
      David Perez                    $510               9.5                $4,845.00
12
      Laura Hennessey                $440               56.8               $24,992.00
13
      Sameer Ahmed                   $573.95            9.05               $5,194.25
14
      Jennifer Pasquarella           $646.64            7.51               $4,856.27
15
      Stacy Tolchin                  $646.64            5.4                $3,491.86
16
      Trina Realmuto                 $779.74            6.7                $5,224.26
17
      Kristin Macleod-Ball           $397.42            12.1               $4,808.78
18
19         As for the Motion for Sanctions, the Court agrees that fees incurred in bringing
20 this additional motion seeking to compel compliance with this Court’s Orders and the
21 Civil Rules may be recoverable. However, Plaintiffs did not submit any declarations
22 setting forth the time incurred in drafting the Motion for Sanctions, but requested leave to
23 do so. Dkt. # 137 at 18-19. Defendants do not appear to respond to this request, other
24 than to “reserve the right to challenge any fees the records for which were not appended
25 to the motion for sanctions” in the aforementioned footnote. Dkt. # 146 at p. 17, n.8.
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 1         Accordingly, the Court will require supplemental briefing from the parties on this
 2 issue. Within fourteen (14) days of this Order, Plaintiffs are directed to file
 3 supplemental briefing detailing the reasonable attorneys’ fees incurred in preparing
 4 and filing its Motion for Sanctions, in a filing not to exceed ten (10) pages. Within
 5 fourteen (14) days of Plaintiffs’ filing, Defendants may file an opposition not to
 6 exceed ten (10) pages.
 7         IV.    CONCLUSION
 8         For the foregoing reasons, the Court GRANTS in part and DENIES in part
 9 Plaintiffs’ Motion for Sanctions. Dkt. # 137. Defendants are hereby ORDERED to pay
10 Plaintiff’s attorneys’ fees incurred in litigating Plaintiffs’ Motion to Compel (Dkt. # 91)
11 in the amount of $50,507.92. Within fourteen (14) days of this Order, Plaintiffs are
12 directed to file supplemental briefing detailing the reasonable attorneys’ fees incurred in
13 preparing and filing its Motion for Sanctions (Dkt. # 137), in a filing not to exceed ten
14 (10) pages. Within fourteen (14) days of Plaintiffs’ filing, Defendants may file an
15 opposition not to exceed ten (10) pages.
16
17         Dated this 27th day of February, 2019.
18
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20
                                                     A
21                                                   The Honorable Richard A. Jones
                                                     United States District Judge
22
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